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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

UCB , INC. , UCB MANUFACTURING                    )
IRELAND LIMITED, UCB PHARMA                       )
GMBH and LTS LOHMANN THERAPIE-                    )
SYSTEME AG,                                       )
                                                  )
               Plaintiffs.                        )
                                                  )
       V.                                         )    C.A. No. 17-322 (LPS)
                                                  )
MYLAN TECHNOLOGIES, INC. ,                        )
MYLAN PHARMACEUTICALS, INC. and                   )
MYLAN,INC.                                        )
                                                  )
               Defendants.                        )

                                 STIPULATION AND ORDER

       WHEREAS Plaintiffs UCB , Inc., UCB Manufacturing Ireland Ltd. , UCB Pharma GmbH,

and LTS Lohmann Therapie-Systeme AG (collectively, "Plaintiffs") filed a complaint against

Defendants Mylan       Technologies    Inc.,   Mylan   Pharmaceuticals     Inc.,   and   Mylan Inc.

("Defendants"), directed to ANDA No. 209982 and alleging infringement of United States Patent

Nos. 6,884,434 ("the ' 434 Patent"), 7,413 ,747 ("the ' 747 Patent"), 8,246,979 ("the ' 979 Patent"),

8,246,980 ("the '980 Patent"), and 8,617,591 ("the ' 591 Patent"), on May 24, 2017 (D.I. 1) ("the

Action");

       WHEREAS Defendants moved to dismiss the Action for improper venue on July 13,

2017 (D.I. 13) ("Defendants' Motion");

       WHEREAS Plaintiffs conditionally moved to transfer the Action to the District of

Vermont on August 10, 2017 (D.l . 22) ("Plaintiffs' Motion");

       WHEREAS the Court denied Defendants ' Motion and Plaintiffs ' Motion without

prejudice to renew after a period of venue-related discovery on December 1, 2017 (D.I. 41);
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         WHEREAS Defendants renewed their motion to dismiss the Action for improper venue

on January 15 , 2019 (D.I. 79);

         WHEREAS Plaintiffs renewed their motion to transfer the Action to the District of

Vermont on January 29, 2019 (D.I. 82);

         WHEREAS the ' 434 Patent was the subject of a recent decision from the United States

Court of Appeals Federal Circuit, UCB, Inc. v. Watson Laboratories Inc., No. 18-1397 (Fed. Cir.

2019);

         WHEREAS Plaintiffs filed suit against Mylan Technologies Inc. in the District of

Vermont directed to the same ANDA at issue in this Action (ANDA No. 209982), asserting U.S.

Patent Nos. 10,130,589 ("the '589 Patent") and 10,350,174 ("the ' 174 Patent"), on July 16, 2019

(D.1. 1 of C.A. No. 19-cv-00128-JMC (D. Vt.));

         WHEREAS Defendants maintain, and Plaintiffs do not contest for purposes of this

Action only, that venue is not proper in Delaware;

         WHEREAS Defendants maintain that the proper outcome in this Action is either outright

dismissal of the Action or transfer of the Action to the Northern District of West Virginia;

         WHEREAS Defendants maintain that venue is not proper in Vermont as to Mylan

Pharmaceuticals Inc. and Mylan Inc. ;

         WHEREAS in the interest of judicial and party efficiencies, Mylan Technologies Inc.

agrees to have this Action transferred to Vermont;

         IT IS HEREBY STIPULATED AND AGREED by and between the Parties hereto,

subject to the approval of the Court, as follows :




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         1.    Mylan Pharmaceuticals Inc. and Mylan Inc. are dismissed from this Action with

prejudice with respect to any claims for infringement under 35 U.S.C. § 27l(e) and without

prejudice with respect to any other claim(s).

         2.    This Action, only remaining as to Mylan Technologies Inc. , shall be transferred to

the United States District Court for the District of Vermont.

         3.    The terms of this stipulation are made without prejudice to the respective

positions of Plaintiffs and Defendants as to whether and where venue is appropriate for any

party.

         4.    The case caption shall be amended to remove Mylan Pharmaceuticals Inc. and

Mylan Inc.

MORRIS, NICHOLS, ARSHT & TlJNNELL LLP                STAMOULIS & WEINBLA TT LLC


/s/ <DerekJ. Pafinestocft                            /s/ Stamatios Stamou[is

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Attorneys for Plaintiffs

August 21, 2019                        b  ~

               SO ORDERED thi~             day of August, 2019 .




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